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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
----------------------------------------------------------- X
FARA D’ANGELO,                                              : 3:08-CV-1548 (JCH)
                                                            :
                                Plaintiff,                  :
                                                            :
                 -against-                                  :
                                                            :
WORLD WRESTLING ENTERTAINMENT, :
INC.,                                                       :
                                Defendant.                  :
----------------------------------------------------------- X




PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
               MOTION FOR SUMMARY JUDGMENT




       Dated: New York, New York
       June 9, 2010




                                                     THE BOYD LAW GROUP, PLLC

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       Plaintiff Fara McNeil (formerly D’Angelo) (“Plaintiff”, “our client”, “D’Angelo”,

or “Plaintiff D’Angelo”), by her attorneys The Boyd Law Group, PLLC, respectfully

submits this Memorandum of Law in opposition to Defendant World Wrestling

Entertainment, Inc.’s (“Defendant”, “WWE”, or “Defendant WWE”) Motion for

Summary Judgment (“Motion”) and supporting brief (“Brief”).

                             PRELIMINARY STATEMENT

       Defendant WWE seeks dismissal of our client’s sexual harassment case through two

arguments. First, WWE argues that our client’s then- supervisor, Alex Romer (“Romer”),

did not sexually harass her. WWE makes this argument notwithstanding documentary

evidence that Romer, inter alia, called Plaintiff “sexy”, asked to sleep with her, texted her to

tell her he was “naked” and complimented her for having a nice “tail”. Defendant makes

this argument notwithstanding the fact that Plaintiff was, at end, so concerned about

Romer’s intent to sleep with her that she moved out of her hotel room and slept at the airport

in order to avoid the risk of him breaking into her room, and notwithstanding the fact that

they fired Romer for his conduct vis-à-vis our client.

       Undeterred by the weakness of this above position, WWE unabashedly turns to the

most archaic and foul of defenses: they argue, secondarily, that Plaintiff does not have a

claim for sexual harassment because she asked for it. In particular, WWE appears to believe

that since Plaintiff made a few jokes, and because she tried to keep her job instead of

immediately expressing moral outrage at the actions of her boss, she invited – and even

asked for – the harassment that was visited upon her.

       We are grateful that the law neither supports nor tolerates these defenses. Plaintiff

D’Angelo was subjected to unlawful and unwanted harassment by a boss that would not




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permit her to transfer away from him and would neither promote her nor respect the fact that

she did not want to sleep with him. The harassment was observed by and reported to

numerous supervisory personnel including a Vice President in the Legal Department, Sheryl

Yamuder (“Yamuder”). Nothing was done to address the problem, and our client was

advised by the supervisors, alternatively, not to go to Human Resources and to find a new

job.

         As a result, our client looked for and finally found a new position. Before she left,

as a way to protect other women that might suffer the same fate, she tendered e-mails Romer

sent to her with the expectation that the situation might finally be addressed. She could do

so, at this point, without fear of retaliation.

         In its brief, Defendant invites the Court to disregard the carefully-

delineated summary judgment framework by, among other things, asking this Court to

draw inferences from evidence and make credibility determinations. WWE specifically

asks the court to find that our client was not offended by Romer’s conduct, that she did

not complain about the harassment clearly enough to her supervisors and that she did not

complain to the correct people. We submit that such findings would be findings of

material fact appropriate for contemplation by a jury. As such, we respectfully urge the

Court to decline rulings on such disputed facts, and thus to deny Defendant’s Motion in

its entirety so that Plaintiff may have her day in court.

                                  STATEMENT OF FACTS

         Plaintiff D’Angelo commenced working with Defendant WWE as a Global

Licensing Coordinator on or about April 1, 2004. (Transcript of the January 22, 2010

deposition of Plaintiff (“D’Angelo Dep.”), at p. 23). Her supervisor for the entirety of her




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tenure was Alex Romer. (Id. pp. 92-93). Romer worked in London, but often took trips to

Europe with Plaintiff and was in daily contact with her by phone, e-mail and text-messages.

(Plaintiff’s Amended Complaint dated March 25, 2009 (“Am. Compl.”) ¶ 22).

        Shortly after Plaintiff commenced work her supervisor, Romer, commenced

harassing her. (Am. Compl. ¶ 25; D’Angelo Dep., at pp. 40-41). Romer, inter alia, asked

D’Angelo about her sex life and asked who she was dating (Am. Compl. ¶ 28; D’Angelo

Dep., at p. 208). He told her she had a nice “tail”, that she was “sexy”, a “naughty girl” and

referred to her as “darling”, “precious” and “tinker-bell”. (Am. Compl. ¶¶ 37-39; D’Angelo

Dep., at p. 112).1 Romer told Plaintiff, in an instant message, that he was “naked” and also

told her that he wanted to have sex with her. (Am. Compl. ¶ 41; D’Angelo Dep., at p. 144).

        The harassment D’Angelo endured was not limited to the above comments, e-mails

and text messages. Romer also gave her gifts, invited her on vacations with him, and took

her on business dinners where he would try to hold her hand. (D’Angelo Dep., at pp. 94-

101, 104). Equally troubling, Romer touched Plaintiff several times in ways that were

inappropriate and uncomfortable to her. (Id. pp. 101-04). He caressed D’Angelo’s face, pet

her hair, touched her waist and put his arm around her to hold her close several times. Id.

        Arguably the worst of the harassment occurred during the course of a trip to Europe

one month before D’Angelo resigned.           On this occasion, Plaintiff was at a bar, and

attempted to leave with several other WWE executives. (D’Angelo Dep., at p. 105). Romer

stood up and grabbed D’Angelo’s wrist in an effort to force her to stay with him. (Id.) He



1
         Opposing counsel, in a trite but illogical footnote observes that Plaintiff’s former
boyfriend also called her “precious.” (Brief at 3 n.1) This observation, if anything, would seem
to support Plaintiff’s case. Indeed, we cannot imagine in what context it would be appropriate for
a supervisor to refer to his subordinate with the same term of endearment she used in an amorous
relationship.


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did this in front of Managerial employees Joel Satin and Curt Schneider, but Plaintiff was

successful in pulling away. (Id.) D’Angelo discussed the matter with the supervisors

immediately after the incident. (Id.) She told them that this was the way Alex regularly

behaved, and took the elevator to her floor. (Id.) Romer was there to confront her for

leaving him, and attempted to join Plaintiff in her hotel room. (Id. p. 106). Plaintiff

resisted, and finally convinced Romer to leave, but was so scared that she left the hotel

hours later instead of staying close to Romer. (Id. p. 103). She was, specifically, concerned

he would talk to the concierge and get access to her room. (Id.) 2

       Plaintiff D’Angelo resigned on May 15, 2006, approximately one month after the

above-referenced incident.     By that point, Romer had failed to grant her any of the

promotions she sought, and been the determining factor in her inability to transfer to a

different department where he would no longer be her supervisor. (Id. pp. 65-66). She had,

moreover, complained about Romer’s conduct to: Yamuder, a friend and VP in WWE’s

Legal Department who discouraged her from going to Human Resources; Bernadette

Hawkes, who saw Romer touching Plaintiff’s waist, and management employee Michael

Archer. Such complaints were consistent with the WWE policy against sexual harassment,

which requires an employee to report harassment to their “[s]upervisor, or the vice president

of human resources or any other member of management”. (D’Angelo Dep at Exh. 5). The

complaints occurred during the entire course of Plaintiff’s two (2) year tenure at WWE, but

had no results.




2
        The factual record belies Defendant’s unsupported conclusion that Plaintiff “want[ed] to
continue working for” Romer. (Brief at 25 n.6.) To the contrary, it illustrates that Plaintiff
viewed a promotion as a “way out” and a way to “get away from” Romer. (D’Angelo Dep., at
pp. 63-64).


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        Romer was not disciplined or discharged until Plaintiff gave notice of her intent to

resign. Plaintiff D’Angelo has seen a therapist and discussed the negative impact of Romer

on her well-being with such therapist. (Am. Compl. ¶ 71; D’Angelo Dep., at pp. 48, 60).

                                       ARGUMENT

I.      SUMMARY JUDGMENT STANDARD

        A federal court should not grant a motion for summary judgment unless it

determines that there is no genuine issue of material fact and the undisputed facts are

sufficient to warrant judgment as a matter of law. See Fed. R. Civ. P. 56(c); Zipoli v.

Caraballo, 603 F. Supp. 2d 399, 402 (D. Conn. 2009) (citing Celotex Corp. v. Catrett, 477

U.S. 317, 322-23 (1986)).

        The “moving party bears the burden of showing that he or she is entitled to

summary judgment.” Huminski v. Corsones, 396 F.3d 53, 59 (2d Cir. 2004). “When

deciding a motion for summary judgment, the trial court must view the evidence in the

light most favorable to the non-moving party and draw all inferences in that party's

favor.” Diana v. Schlosser, 20 F. Supp. 2d 348, 349 (D. Conn. 1998) (citing Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).

        “[T]he duty of a court on a motion for summary judgment is to determine whether

there are any genuine issues of material fact to be resolved by trial and not to decide

factual issues. In this regard, the court's task is issue identification, not issue resolution.”

Diana, 20 F. Supp. 2d at 349 (quoting Repp v. Webber, 132 F.3d 882, 889-90 (2d Cir.

1997)); accord, Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (“Credibility

determinations, the weighing of the evidence, and the drawing of legitimate inferences




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from the facts are jury functions, not those of a judge, whether he is ruling on a motion

for summary judgment or for a directed verdict.”).

        An “extra measure of caution is merited … in a discrimination action because

direct evidence of discriminatory intent is rare and such intent must often be inferred

from circumstantial evidence found in affidavits and depositions.” Gallo v. Prudential

Residential Servs., 22 F3d 1219, 1224 (2d Cir. 1994); accord, Gorzynski v. Jetblue

Airways Corp., 596 F.3d 93, 103 (2d Cir. 2010) (noting that the Second Circuit “has

repeatedly emphasized the need for caution about granting summary judgment to an

employer in a discrimination case where … the merits turn on a dispute as to the

employer’s intent” and that “affidavits and depositions must be carefully scrutinized for

circumstantial proof which, if believed, would show discrimination.”).

        It is respectfully submitted that, upon application of these well-settled standards,

Defendant’s Motion – which is replete with invitations attempts to, inter alia, draw

inferences from evidence and make credibility determinations 3 – must be denied.

II.     GENUINE ISSUES OF MATERIAL FACT EXIST REGARDING
        PLAINTIFF’S HOSTILE WORK ENVIRONMENT CLAIM

        A.       Plaintiff Has Satisfied Her Prima Facie Burden To Demonstrate A
                 Hostile Work Environment

        “In order to establish a hostile work environment claim under Title VII, a plaintiff

must produce enough evidence to show that the workplace is permeated with

discriminatory intimidation, ridicule, and insult, that is sufficiently severe or pervasive to

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         See, e.g., Brief at 5 (stating what an excerpted portion of Plaintiff’s deposition testimony
“clearly suggest[s]”); id. (stating “[w]hat becomes clear from” identified emails); id. at 5-6, n.2
(stating what a specified email “further evinc[es]”); id. at 7 (speculating as to what a third party
“clearly” decided); id. at 11 (stating that particular testimony was responsible for “giving the
clear impression” as to what a third party “thought”); id. at 13-14 (noting the “minimal details of
the conversation that [Plaintiff] could remember”); id. at 32 (stating what referenced yet
unspecified testimony “suggests”).


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alter the conditions of the victim’s employment and create an abusive working

environment.” Gorzynski, 596 F.3d at 102. The evidence of record – including Romer’s

calling Plaintiff “darling”, “sexy”, and “precious”; Romer’s telling Plaintiff he was naked

and that he wanted to have sex with her; Romer’s inappropriate attempts at physical

intimacy with Plaintiff; and Plaintiff’s resulting fear for her safety and her resort to

therapy to ameliorate the trauma caused by Romer’s antics (see supra, at pp. 3-6) –

represents classic examples of sexual harassment. At the very least, it raises issues of

fact incapable of resolution on the instant motion.

        B.      Defendant May Not Avail Itself Of The Faragher/Ellerth Defense

        “When … the alleged harasser is in a supervisory position over the plaintiff” – as

Romer indisputably was – “the objectionable conduct is automatically imputed to the

employer.” Gorzynski, 596 F.3d at 103. 4 “But even then the defending employer may be

permitted … to raise the Faragher/Ellerth affirmative defense to liability or damages.”

Id.   However, as set forth below, this defense is unavailable to Defendant, for at least

two reasons.

                1.      The Faragher/Ellerth Defense Does Not Apply In The First
                        Instance

        “An employer may raise the Faragher/Ellerth defense only if either (1) the

employee’s supervisor took no ‘tangible employment action,’ which involves an official

company act, against the employee; or (2) any tangible employment action taken against

the employee was not part of the supervisor’s discriminatory harassment.” Gorzynski,


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        This case is thus distinguishable from those, relied upon by Defendant, in which the
alleged harasser was not the plaintiff’s “supervisor” within the meaning of Title VII. See, e.g.,
Feliciano v. Alpha Sector, Inc., 2002 U.S. Dist. LEXIS 12631, at *27-30 (S.D.N.Y. July 12,
2002).


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596 F.3d at 103. A “tangible employment action” includes, among other things, “failing

to promote” the plaintiff. Petrosino v. Bell Atlantic, 385 F.3d 210, 225 (2d Cir. 2004).

       Romer took at least one “tangible employment action” with respect to Plaintiff,

and renders this defense inapplicable. In particular, the record evidence establishes, inter

alia, that Plaintiff specifically asked Romer (her supervisor) for a promotion (see

D’Angelo Dep., at pp. 39-41), which promotion Plaintiff never received. Plaintiff also

sought a transfer from Romer, to a position where a promotion might be easier.

(D’Angelo Dep., at pp. 39-41). To borrow what appears to be one of Defendant’s

favorite phrases, 5 query why Plaintiff’s supervisor – who, according to the record

evidence, harbored an obvious, yet unreciprocated, sexual interest in Plaintiff – would

decline to grant the requested promotion or transfer. This and other such questions are

for the trier of fact; their very existence underscores the impropriety of summary

judgment here.

                 2.      Even If The Faragher/Ellerth            Defense     Applies,      Its
                         Requirements Are Not Satisfied

       The Faragher/Ellerth “defense consists of two elements: that (1) the employer

exercised reasonable care to prevent and correct promptly any … harassing behavior, and

(2) the plaintiff employee unreasonably failed to take advantage of any preventive or

corrective opportunities provided by the employer or to avoid harm otherwise.”

Gorzynski, 596 F.3d at 103 (quoting Faragher v. City of Boca Raton, 524 U.S. 775, 807

(1998); Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 765 (1998)) (citations omitted).

       The record evidence reflects, inter alia, that Plaintiff utilized the corrective

measures available to her to extricate herself from the professionally detrimental and

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       See, e.g., Brief at 3 n.1; id. at 8; id. at 25 n.6.


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demoralizing effects of Romer’s harassment.           In particular, Defendant’s “Equal

Employment Opportunity/Sexual Harassment Policy” (which was signed by Plaintiff on

or about April 1, 2004) (Plf. Dep. Exh. 5), instructs anyone who “believe[s] [they] have

encountered unlawful harassment from any WWE employee” to report the incident to

their “supervisor, or the Vice President of Human Resources, or any other member of

management.” (Emphasis added.)          The evidence of record includes the testimony of

Sheryl Yamuder – Defendant’s Vice President of Legal Affairs 6 – that Plaintiff brought

to Yamuder’s attention, prior to Plaintiff’s resignation, “two negative interactions” that

Plaintiff had with Romer that made Plaintiff “extremely unhappy” and “uncomfortable”.

(Transcript of the March 8, 2010 deposition of Sheryl Yamuder, at pp. 69-78.) This

evidence vitiates the legal conclusion – which Defendant now asks this Court to draw –

that Plaintiff “unreasonably failed to take advantage of any preventive or corrective

opportunities provided by the employer or to avoid harm otherwise.” Gorzynski, 596

F.3d at 102.

III.   Genuine Issues of Material Fact Exist Regarding Plaintiff’s Constructive
       Discharge

       In order to sustain a constructive discharge claim, the plaintiff must “prove that

her employer deliberately and discriminatorily created work conditions ‘so intolerable

that a reasonable person in the employee's position would have felt compelled to resign.’”

Bolden v. Potter, 2010 WL 1286756, at *6, n.3 (D. Conn. March 29, 2010) (quoting




6
        Defendant’s conclusion (based largely on Third Circuit case law) that “Yamuder … does
not qualify as management” (Brief at 31) is patently ludicrous.


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Ferraro v. Kellwood Co., 440 F.3d 96, 101 (2d Cir. 2006)). 7 Here, the record evidence

reveals a pattern of Romer’s consistent, unrelenting harassment that, inter alia, actually

caused Plaintiff to fear for her safety and to seek the services of a therapist. (See supra at

pp. 3-6). This evidence, at the very least, presents a genuine issue of material fact

sufficient to defeat Defendant’s Motion.

                                       CONCLUSION

         For the reasons set forth above, Plaintiff respectfully requests that the Court deny

Defendants’ Motion in its entirety.


Dated:    New York, NY
          June 9, 2010

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7
        Defendant’s argument that Plaintiff does not “state an actionable claim” for constructive
discharge because her “departure from [Defendant] was of her own volition” (Brief at 33) is
nonsensical, since, by definition, a constructive discharge entails a voluntary departure.


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